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MINUTE ENTRY
VITTER, J.
May 12, 2025
JS10, 0:52
                    UNITED STATES DISTRICT COURT
                    EASTERN DISTRICT OF LOUISIANA

UNITED STATES OF AMERICA                                 CRIMINAL ACTION

VERSUS                                                   NO. 24-105-ALL

RYAN HARRIS, ET AL.                                      SECTION: D (1)

                                                         This Report and Order
                                                         applies to all
                                                         defendants except for
                                                         Ryan Harris and
                                                         Jovanna Gardner

        TELEPHONE STATUS CONFERENCE REPORT and ORDER
      On May 12, 2025, at the Court’s request, the Court held a Telephone Status

Conference in this matter.

      PRESENT:

            Matthew R. Payne, Brian M. Klebba, Jeffrey R. McLaren, Mary
            Katherine Kaufman
            Counsel for the Government

            Shaun G. Clarke
            Counsel for Defendant, Sean D. Alfortish

            Sean M. Toomey
            Counsel for Defendants, Vanessa Motta and Motta Law, LLC

            David I. Courcelle, Scott C. Stansbury
            Counsel for Defendants, Jason F. Giles and King Firm, LLC

            Stephen J. Haedicke
            Counsel for Defendant, Leon M. Parker

            Hester R. Hilliard
            Counsel for Defendant, Diaminike F. Stalbert
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             Michael G. Raspanti
             Counsel for Defendant, Carl G. Morgan

             Rachel M. Yazbeck
             Counsel for Defendant, Timara N. Lawrence

      During the conference, the Court discussed with counsel the email sent by the

Government to the Court and copied to all counsel on May 2, 2025, advising the Court

that FBI Special Agent Michael Heimbach is not available to attend the May 27, 2025

hearing on the Government’s Motion to Admit Statements Under the Forfeiture by

Wrongdoing Exception (R. Doc. 227). After receiving the email, the Court issued an

Order setting this telephone status conference. (R. Doc. 273). Defendants, Sean D.

Alfortish and Leon M. Parker, then filed a “Status Conference Statement and Request

to Continue Motion Hearing Without Date,” asking the Court to continue without

date the May 27, 2025 evidentiary hearing on the Government’s Motion to afford

defendants the opportunity to review and intelligently respond to and rebut the

voluminous discovery produced by the Government. (R. Doc. 275). The Government

filed an Opposition brief, asserting that the Government does not oppose a brief, two

to three week continuance of the hearing, but that an indefinite continuance will

unnecessarily delay trial.    (R. Doc. 276).   Parker and Alfortish filed a Reply,

maintaining that a continuance without date is appropriate and necessary to protect

their due process rights. (R. Doc. 279).

      After hearing from counsel, and for the reasons stated on the record, the Court

issued an oral Order continuing without date the May 27, 2025 hearing on the

Government’s Motion to Admit Statements Under the Forfeiture by Wrongdoing
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Exception, with the Court specifying that a date for the Government’s Motion will be

set following the hearing on the Motions to Sever (R. Docs. 216 & 271) which is set

for May 27, 2025. The hearing on the Motions to Sever will proceed on May 27, 2025

at 1:30 p.m. Counsel for defendant, Timara N. Lawrence, advised the Court that she

will be out of the country on May 27, 2025, but that she waived her client’s appearance

at the hearing. The Court advised counsel that counsel may attend the hearing by

telephone if she desired.

      There was also an oral motion by counsel for defendant, Carl G. Morgan, to file

an out-of-time opposition to the Government’s Motion to Admit Statements Under

the Forfeiture by Wrongdoing Exception. Hearing no opposition to the oral motion,

the Court issued an oral Order GRANTING the oral motion, and gave Morgan until

Friday, May 16, 2025 at 12:00 pm (CST) to file a response to the Government’s

Motion. As to the pending Motions to Sever, counsel for Morgan and counsel for

defendant, Diaminike F. Stalbert, indicated that they may seek to join one of the

motions. Since the deadline to file a Motion to Sever has passed (See R. Doc. 230),

and the Government voiced no opposition to the request, the Court issued an oral

Order allowing the defendants until Thursday, May 15, 2025 at 12:00 p.m. (CST)

to file a motion to join one of the pending Motions to Sever.

      Accordingly,

      IT IS HEREBY ORDERED that the May 27, 2025 hearing on the

Government’s Motion to Admit Statements Under the Forfeiture by Wrongdoing

Exception (See R. Docs. 227 & 269) is CONTINUED without date.
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      IT IS FURTHER ORDERED that defendant, Carl G. Morgan, shall have

until 12:00 p.m. (CST) on Friday, May 16, 2025 to file a response to the

Government’s Motion to Admit Statements Under the Forfeiture by Wrongdoing

Exception.

      IT IS FURTHER ORDERED that defendants shall have until 12:00 p.m.

(CST) on Thursday, May 15, 2025 to file a motion to join one of the pending Motions

to Sever (R. Docs. 216 & 271).

      New Orleans, Louisiana, May 12, 2025.


                                      ______________________________
                                      WENDY B. VITTER
                                      United States District Judge
